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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
MALIK USA LLC,                         )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant MALIK USA LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                          JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.      Venue is proper in the federal District Court for the Northern District


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of Georgia, Newnan Division.

                                      PARTIES

       3.      Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.      Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.      Plaintiff uses a wheelchair for mobility purposes.

       7.      Defendant MALIK USA LLC (hereinafter “Defendant”) is a Georgia

limited liability company, and transacts business in the state of Georgia and within

this judicial district.

       8.      Defendant may be properly served with process via its registered

agent for service, to wit: Liaquat Ali, 4008 King Drive, Douglasville, Georgia,

30135.




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                            FACTUAL ALLEGATIONS

      9.      On or about July 16, 2021, Plaintiff was a customer at “Villa Rica

Food,” a business located at 820 Dallas Highway, Villa Rica, Georgia 30180.

      10.     Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The separate structures and

improvements situated upon said real property shall be referenced herein as the

“Shell Facility” and the “Jerry’s Facility” (together, the “Facilities”), and said real

property shall be referenced herein as the “Property”).

      11.     Plaintiff lives approximately thirteen (13) miles from the Facility and

Property.

      12.     Plaintiff’s access to the business(es) located at 820 Dallas Highway,

Villa Rica, Georgia 30180 (Carroll County Property Appraiser’s parcel number

V04 0110005), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the

Facilities and Property, including those set forth in this Complaint.

      13.     Plaintiff has visited the Facilities and Property at least once before and


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intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      15.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to her access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    Each Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

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      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    Each Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in her capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

her disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or


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limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      27.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).


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      29.      Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)      EXTERIOR ELEMENTS:

      (i)      There are no accessible parking spaces on the Property that

               comply with section 502 of the 2010 ADAAG standards, in

               violation of section 208 of the 2010 ADAAG standards.

      (ii)     The Shell Facility is situated upon a raised concrete foundation

               that is not ramped, rendering it entirely inaccessible to disabled

               patrons that require a wheelchair for mobility purposes, such as

               Plaintiff, in violation of sections 206.2.1 and 303.4 of the 2010

               ADAAG standards.


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(iii)    In the alternative to Paragraph 30(a)(ii), there are publicly

         accessible areas of the Property having accessible routes with

         clear widths below the minimum 36” (thirty-six inches) inches

         required by sections 403.5.1 and 502.7 of the 2010 ADAAG

         standards. Specifically, the accessible route that leads to the

         entrance of the Shell Facility is entirely inaccessible due to the

         presence of a firewood storage unit, a propane tank storage unit,

         and an ice chest.

(iv)     The Jerry’s Facility is situated upon a raised foundation that is

         not ramped, rendering it entirely inaccessible to disabled

         patrons that require a wheelchair for mobility purposes, such as

         Plaintiff, in violation of sections 206.2.1 and 303.4 of the 2010

         ADAAG standards.

(b)      INTERIOR ELEMENTS:

(i)      The interior of the Shell Facility has sales and services counters

         lacking any portion of which that has a maximum height of 36”

         (thirty-six inches) from the finished floor, in violation of

         section 904.4 of the 2010 ADAAG standards.

(ii)     The Shell Facility lacks restrooms signage that complies with


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        sections 216.8 and 703 of the 2010 ADAAG standards.

(iii)   The hardware on the restroom doors in the Shell Facility have

        operable parts that require tight grasping, pinching or twisting

        of the wrist, in violation of section 309.4 of the 2010 ADAAG

        standards.

(iv)    The grab bars adjacent to the commodes in the restrooms in the

        Shell Facility fail to comply with sections 604.5 and 609.4 of

        the 2010 ADAAG standards. Specifically, the rear grab bar is

        too short, the side grab bar is too short, and both grab bars are

        improperly positioned.

(v)     The restrooms in the Shell Facility have cabinet-style sinks that

        provide for inadequate knee and toe clearance thereunder, in

        violation of sections 305, 306 and 606.2 of the 2010 ADAAG

        standards.

(vi)    The soap dispensers in the restrooms in the Shell Facility are

        located outside the prescribed vertical reach ranges set forth in

        section 308.2.1 of the 2010

(vii) Upon information and good faith belief, Defendant fails to

        adhere to a policy, practice and procedure to ensure that the


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             Facilities and Property are readily accessible to and usable by

             disabled individuals.

      31.    Without limitation, the above-described violations of the ADAAG

rendered the Shell Facility inaccessible to Plaintiff.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.     All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.


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      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing


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Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facilities and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: September 8, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
                                      The Law Office of Craig J. Ehrlich, LLC
                                      1123 Zonolite Road, N.E., Suite 7-B
                                      Atlanta, Georgia 30306
                                      Tel: (404) 365-4460
                                      craig@ehrlichlawoffice.com

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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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